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 8                              UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
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12    Ed Hull,                                 Case No.: 2:20-cv-07911-JFW(GJSx)
13                Plaintiff,                   Hon. John F. Walter.
14          v.                                 ORDER FOR DISMISSAL WITH
                                               PREJUDICE
15    Bhullar Properties, LLC, a California
      Limited Liability Company; and Does
16    1-10,                                    Action Filed: August 28, 2020
                                               Trial Date:   Not on Calendar
17                               Defendants.
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                       ORDER FOR DISMISSAL WITH PREJUDICE
     Case 2:20-cv-07911-JFW-GJS Document 11 Filed 10/16/20 Page 2 of 2 Page ID #:65



 1          Pursuant to Fed. R. Civ. P. 41, the Court, having considered the documents before
 2    it, and being fully advised finds as follows:
 3          IT IS ORDERED THAT:

 4          Plaintiff Ed Hull’s (“Plaintiff”) action against Defendant Bhullar Properties, LLC
 5    (“Defendants”) is dismissed with prejudice. Each party will be responsible for their own
 6    fees and costs.
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11
               October 16, 2020
      Dated:
12                                                       Hon. John F. Walter
                                                         United States District Judge
13                                                       Central District of California
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                        ORDER FOR DISMISSAL WITH PREJUDICE
